     Case 1:16-cv-02145-JEJ-MCC Document 356 Filed 03/26/20 Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


JULIE ELLEN WARTLUFT, et al.,                :     Civil No. 1:16-CV-2145
                                             :
      Plaintiffs,                            :     (Judge Jones)
                                             :
v.                                           :
                                             :     (Magistrate Judge Carlson)
THE MILTON HERSHEY SCHOOL                    :
AND SCHOOL TRUST, et al.,                    :
                                             :
      Defendants.                            :


                                     ORDER


      AND NOW, this 26th day of March 2020, having received a request from

the Intervenor for the court to revisit its decisions concerning the documents to be

redacted by the defendants in accordance with our Memorandum Opinions and

Orders (Docs. 349, 350, 354, 355) in light of the District Court’s opinion granting

summary judgment to the defendants in this case, IT IS HEREBY ORDERED

THAT the Intervenor shall submit a letter outlining its new or revised position

regarding the redacted documents on or before April 1, 2020, and the defendants

shall submit their opposing letter on or before April 6, 2020. Our orders

concerning the redactions (Docs. 345, 355) are hereby STAYED pending

consideration of the parties’ request.



                                         1
Case 1:16-cv-02145-JEJ-MCC Document 356 Filed 03/26/20 Page 2 of 2




                                    /s/ Martin C. Carlson
                                    Martin C. Carlson
                                    United States Magistrate Judge




                                2
